                                                                                        SEALED
                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                            Civil Action No. 16-cv-15092
ex rel. Robert Romero,
                                                    Section “L” (4)
               Plaintiff,
                                                    Judge Fallon
                       v.
                                                    Magistrate Roby
AECOM, XAVIER UNIVERSITY OF
LOUISIANA, DILLARD UNIVERSITY, the
ROMAN CATHOLIC CHURCH of the
ARCHDIOCESE OF NEW ORLEANS, and
RANDALL KRAUSE,

               Defendants.



                                            ORDER

        Considering the United States' Notice of its decision to (1) intervene and proceed with

this action against Defendants AECOM and the Roman Catholic Church of the Archdiocese of

New Orleans (“ANO”), (2) intervene for the purpose of settlement against Defendant Xavier

University of Louisiana, (3) decline intervention against Defendants Dillard University and

Randall Krause, R. Doc. 41;

       IT IS ORDERED that:

   1. Relator’s Third Amended Complaint, R. Doc. 24, and the United States’ Notice of

       Election; and this Order be unsealed;
2. All other contents of the matters previously filed in this action (including, but not limited

     to, any applications filed by the United States for extensions of the investigative period,

     any applications for partial lifting of the seal, and any orders previously entered in this

     matter) should remain under seal and not be made public or served upon any remaining

     Defendants until such time as the Court orders otherwise;

3. The United States shall have 60 days, up to and including July 28, 2020, to file its

     complaint in intervention;

4. In accord with 31 U.S.C. § 3730(b)(1), Relator may maintain in the name of the United

     States the parts of the action in which the United States has not intervened;

5. If Relator elects to pursue the parts of the action in which the United States has not

     intervened, Relator shall have 60 days, up to and including July 28, 2020, to serve

     relator’s complaint;

6.   Concerning the part of the action in which the United States has declined to intervene,

     the parties shall serve all pleadings and motions filed in those parts of the action,

     including supporting memoranda, upon the United States, as provided for in 31 U.S.C. §

     3730(c)(3). The United States may order any deposition transcripts and is entitled to

     intervene in those parts of the actions, for good cause, at any time. The United States

     shall receive notice and an opportunity to object to a dismissal or a settlement and leave

     to intervene upon demonstrating good cause;




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   7. The parties shall serve all notice of appeal upon the United States; and

   8. All orders of this Court shall be sent to the United States.



New Orleans, Louisiana, this 2nd day of June, 2020.



                                             ________________________________
                                             HON. ELDON E. FALLON
                                             UNITED STATES DISTRICT JUDGE




CC:

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